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                   UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

 THE STATE OF ALABAMA; ROBERT
 ADERHOLT, Representative for Alabama’s
 4th Congressional District, in his official and
 individual capacities; WILLIAM GREEN;
 and CAMARAN WILLIAMS,
                                                                CIVIL ACTION NO.
                                 Plaintiffs,
                                                            3:21-cv-211-RAH-ECM-KCN
                          v.

 UNITED STATES DEPARTMENT OF
 COMMERCE; GINA RAIMONDO, in her
 official capacity as Secretary of Commerce;
 UNITED STATES BUREAU OF THE
 CENSUS, an agency within the United States
 Department of Commerce; and RON
 JARMIN, in his official capacity as Acting
 Director of the U.S. Census Bureau,

                                 Defendants.



 CONSENT MOTION OF 16 STATES FOR LEAVE TO FILE AMICUS CURIAE BRIEF
         IN SUPPORT OF PLAINTIFFS STATE OF ALABAMA, ET AL.

          16 States move for leave to file an amicus brief in support of the State of Alabama relying

on the accompanying Memorandum in Support, attached below and incorporated by reference.

Both Plaintiffs and Defendants consent. The States respectfully request this Court to enter an Order

consistent with the attached [Proposed] Order, filed contemporaneously herewith.




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Dated: April 9, 2021                  Respectfully submitted,


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                   UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF ALABAMA
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 THE STATE OF ALABAMA; ROBERT
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 and CAMARAN WILLIAMS,
                                                                CIVIL ACTION NO.
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 UNITED STATES DEPARTMENT OF
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 UNITED STATES BUREAU OF THE
 CENSUS, an agency within the United States
 Department of Commerce; and RON
 JARMIN, in his official capacity as Acting
 Director of the U.S. Census Bureau,

                                 Defendants.



MEMORANDUM IN SUPPORT OF 16 STATES’ MOTION FOR LEAVE TO FILE AMI-
 CUS CURIAE BRIEF IN SUPPORT OF PLAINTIFFS STATE OF ALABAMA, ET AL.

          Amici are the chief legal officers of their respective States. As such, they defend and en-

force a wide variety of legal matters to protect their citizens. This Court should exercise its discre-

tion to grant leave for the States to file an amicus brief to address the important issues raised in

Alabama’s Complaint that affect States nationwide. Although this Court does not have specific

rules governing briefs of amici curiae, federal district courts have “inherent authority” to grant

participation by an amicus curiae derived from Federal Rule of Appellate Procedure 29. Mobile

Cty. Water, Sewer & Fire Prot. Auth., Inc. v. Mobile Area Water & Sewer Sys., Inc., 567 F. Supp.




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2d 1342, 1344 n.1 (S.D. Ala. 2008) (quoting Jin v. Ministry of State Security, 557 F. Supp. 2d 131,

136 (D.D.C. 2008)).

          The privilege of amicus participation rests within this Court’s discretion. United States v.

State of La., 751 F. Supp. 608, 620 (E.D. La. 1990). Generally, courts exercise that discretion to

liberally grant amicus participation, whether to file a brief, argue the case, or introduce evidence.

Id. No strict prerequisites must be established prior to qualifying for amicus status. Id. Rather, a

party seeking to appear as amicus must merely show that its participation in the case is useful to

or otherwise desirable by the court. Id. (citing Leigh v. Engle, 535 F. Supp. 418, 420 (N.D. Ill.

1982)).

          Under these standards, this Court should grant leave to the States of Utah, Alaska, Arkan-

sas, Florida, Kentucky, Louisiana, Maine, Mississippi, Montana, Nebraska, New Mexico, Ohio,

Oklahoma, South Carolina, Texas, and West Virginia (Amici States) to file a brief of amicus curiae

for two reasons.

          First, the Amici States have a strong interest in the Court’s disposition of the issues pre-

sented. As set forth in Alabama’s Complaint, the differential privacy statistical method the Census

Bureau intends to apply to the decennial census data will result in inaccurate data for all States.

The Amici States have an interest in supporting Alabama’s request to enjoin defendants from im-

plementing differential privacy. Second, the Amici States can assist the Court in understanding the

scope of this problem nationally without duplicating the arguments of the parties. Amici States

have analyzed the differential privacy data as applied to the 2010 decennial data and observed the

inaccuracies and harm that would result in implementing differential privacy to the 2020 census

data. The amicus brief describes those analyses and the resulting harms.




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          For all of these reasons, the Amici States respectfully request leave to file the attached Brief

of Amici Curiae State of Utah and 15 Other States in Support of Plaintiffs.


Dated: April 9, 2021                                 Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the foregoing document by Notice of Electronic
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Mail on this the 9th day of April, 2021:

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